       Case 1:23-cv-11990-PBS     Document 61   Filed 12/03/24    Page 1 of 20



                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
CONTEMPO CARD COMPANY, INC.,        )
                                    )
                    Plaintiff,      )
                                    )         Civil Action
v.                                  )         No. 23-11990
                                    )
SUPERIOR BINDERY, INC., and         )
REVOLUTIONARY CLINICS II, INC.,     )
                                    )
                    Defendants.     )
___________________________________)


                           MEMORANDUM AND ORDER

                                December 3, 2024

Saris, D.J.
                                  INTRODUCTION

       Plaintiff Contempo Card Company, Inc. (“Contempo”) owns a

patent for the “Vault Box,” a child-resistant storage container

for marijuana products. See U.S. Patent No. 11,358,763 (“’763

patent”).     Contempo    alleges     Defendant    Superior       Bindery,       Inc.

(“Superior”) infringed the ’763 patent by creating a knock-off of

the Vault Box. Defendant Revolutionary Clinics II, Inc. (“Rev

Clinics”), one of Contempo’s former customers, allegedly switched

to buying Superior’s knock-off despite knowing it infringed the

’763 patent. Contempo sues Superior and Rev Clinics (“Defendants”)

for direct, induced, and contributory infringement.

       The parties dispute the construction of seven terms in the

’763    patent:   (1)    “box,”    (2)   “outer    box,”    (3)    “inner    box,”

                                         1
       Case 1:23-cv-11990-PBS   Document 61   Filed 12/03/24   Page 2 of 20



(4) “reaching,” (5) “retain,” (6) “slots are not large enough for

a child’s finger,” and (7) “the contact surfaces.” After a hearing,

the Court construes the disputed terms as follows:

       1.     The term “box” means “container.”

       2.     The term “outer box” means “outer container.”

       3.     The term “inner box” means “inner container.”

       4.     The term “reaching” means “to touch or grasp by extending

a part of the body or an object.”

       5.     The term “retain” means “hold the inner box within the

outer box.”

       6.     The term “slots are not large enough for a child’s

finger” is not indefinite.

       7.     The term “the contact surfaces” is not indefinite.

       Further, for the reasons stated below, the Court DENIES

Defendants’ Motion to Strike the Affidavit of Vark Markarian (Dkt.

53).

                                 BACKGROUND

       The following facts, drawn from the complaint and the ’763

patent, are taken as true.

I.     The Parties

       Plaintiff Contempo is a Rhode Island corporation principally

doing business in Providence, Rhode Island. Defendants Superior

and     Rev    Clinics    are    incorporated     and     headquartered       in

Massachusetts.

                                      2
      Case 1:23-cv-11990-PBS    Document 61   Filed 12/03/24   Page 3 of 20



II.   The ’763 Patent

      Marijuana    is   a      psychoactive   drug    used     medically      and

recreationally. A growing number of jurisdictions have legalized

its sale and use. As marijuana has become more accessible, “[t]here

is a tremendous need for improved child-resistant packaging” to

“ensure that children are protected from accidental exposure” to

marijuana products. See ’763 patent at 1:61-63, 2:45-49. Contempo

is a packaging company that has tapped into this budding market.

      Contempo owns the ’763 patent, which discloses a “child-

resistant storage container.” See ’763 patent at [57]. Contempo

provisionally filed for the ’763 patent in 2018, and the patent

was issued on June 14, 2022. See id. at [60], [45]. In general,

the ’763 patent teaches a design for a “child-resistant storage

container comprising two rigid boxes,” one inside the other, such

that there is “enough friction between the contact points of the

boxes to retain the inner box in the outer box.” Id. at [57].

      The ’763 patent contains only one independent claim, Claim 1.

With the disputed claim terms underlined, Claim 1 reads:

      1. A storage container comprising

            an outer box having an interior space,

           an inner box capable of being inserted into and
      contained in the interior space of said outer box, and

           a means of accessing the inner box when the inner
      box is inserted into the outer box provided that there
      is sufficient friction between the contact surfaces of


                                       3
      Case 1:23-cv-11990-PBS   Document 61   Filed 12/03/24       Page 4 of 20



      the inner box and the outer box to retain the inner box
      within the outer box;

           wherein said outer box is comprised of five walls
      and an opening in which to insert the inner box into the
      interior space of the outer box and the inner box is
      comprised of four vertical side walls and a bottom
      horizontal wall, further wherein the length of the inner
      box is shorter than the length of the outer box provided
      that when the inner box is inserted into the outer box,
      the inner box cannot be retrieved by reaching into the
      outer box and pulling the inner box out of the outer box
      wherein said means of accessing the inner box when the
      inner box is inserted into the outer box is one or more
      slots formed within one or more of the walls of the outer
      box provided said slots are not large enough for a
      child’s finger to access said inner box; and

           further provided that the means of accessing the
      inner box is the only means in which to extract the inner
      box from the outer box.

’763 patent at 12:1-26 (emphasis added).

III. The Dispute

      After filing its provisional patent application, Contempo

began marketing its packaging design as the “Vault Box.” See Dkt.

1 ¶ 12. Contempo marked boxes with the words, “The Vault Box by

Contempo Patent Pending” Id. ¶ 15 (emphasis omitted). In December

2018, Superior’s representatives contacted Contempo “expressing

interest in the Vault Box’s innovative design.” Id. ¶ 13. Contempo

and   Superior    discussed    “the   possibility      of     a     relationship

involving the licensing” of the Vault Box design “and/or Superior

being a domestic contract manufacturer for Contempo.” Id. These

discussions continued in person at Superior’s office and trade



                                      4
      Case 1:23-cv-11990-PBS       Document 61     Filed 12/03/24   Page 5 of 20



shows. Contempo informed Superior it had a patent pending for the

Vault Box.

      At some point, discussions between Superior and Contempo

broke down. After that, Superior allegedly created a “knock-off

version of the Vault Box,” “filed its own patent application,”

labeled its products with “Patent Pending,” held the design out as

its   own     invention,     and   marketed      its   packaging    to   Contempo’s

customers. Id. ¶¶ 16-17 (emphasis omitted).

      One of those customers was Rev Clinics. Contempo sold Rev

Clinics packaging from 2018 to 2020. The two “worked together to

incorporate Rev Clinics’ branding onto the Vault Box.” Id. ¶ 19.

But at some point in 2020, Superior “provid[ed] Rev Clinics with

samples of [its] knock-off Vault Box.” Id. After that, Rev Clinics

“began      working   with    Superior    to      replace    Contempo     as     [its]

supplier,” despite knowing Contempo’s patent was pending. See id.

IV.   Procedural History

      On October 18, 2022, Superior sent Contempo a letter stating

it had stopped manufacturing its Vault Box competitor. Contempo

responded on March 28, 2023, with notice of Superior’s “continued

sales    of    the    child    resistant       storage      container”     and     “an

infringement claim chart of claim[s] 1, 3, 4, 6, 9, 11 and 15 of

the ’763 Patent.” Id. ¶ 20. Contempo filed its complaint on August

29, 2023, alleging ongoing infringement of “one or more claims of

the ’763 Patent.” Id. ¶ 23. In their answer, Defendants requested

                                         5
      Case 1:23-cv-11990-PBS   Document 61     Filed 12/03/24   Page 6 of 20



a declaratory judgment that the ’763 patent is invalid. See Dkt.

10 at 7-8. Now, the parties dispute how to construe Claim 1’s

terms.

                               LEGAL STANDARD

      Claim construction is an issue of law for the Court. See

Markman v. Westview Instruments, Inc., 517 U.S. 370, 372 (1996).

“The words of a claim are generally given their ordinary and

customary meaning as understood by a person of ordinary skill in

the   art   when   read   in   the   context     of   the   specification      and

prosecution history.” Thorner v. Sony Comput. Ent. Am. LLC, 669

F.3d 1362, 1365 (Fed. Cir. 2012). A person of ordinary skill in

the art (“POSITA”) looks to “the words of the claims themselves,

the remainder of the specification, the prosecution history, and

extrinsic evidence concerning relevant scientific principles, the

meaning of technical terms, and the state of the art.” Phillips v.

AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005) (en banc) (quoting

Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381

F.3d 1111, 1116 (Fed. Cir. 2004)).

      Courts begin claim construction with “the language of the

claims themselves.” Trs. of Columbia Univ. v. Symantec Corp., 811

F.3d 1359, 1362 (Fed. Cir. 2016). “Claims must be read in view of

the specification, of which they are a part.” Grace Instrument

Indus., LLC v. Chandler Instruments Co., LLC, 57 F.4th 1001, 1008

(Fed.    Cir.   2023)   (quoting     Phillips,    415   F.3d    at   1313).    The

                                       6
       Case 1:23-cv-11990-PBS     Document 61     Filed 12/03/24   Page 7 of 20



specification “is the single best guide to the meaning of a

disputed term” and is usually “dispositive.” Vitronics Corp. v.

Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996). However,

courts should be careful not to limit the claims to the specific

embodiments in the specification. See Phillips, 415 F.3d at 1323.

                                   DISCUSSION

I.     Level of Ordinary Skill in the Art

       As a preliminary matter, the parties disagree about the

definition of the level of ordinary skill in the art. Contempo

defines a POSITA as someone who:

     has 5 (five) or more years working in the packaging industry,
     including the design and manufacturing of child-resistant
     packaging, has detailed knowledge of the requirements and
     testing procedures for child-resistant packing, including the
     laws related thereto, and has a bachelor’s degree in either
     manufacturing, mechanical engineering or the packaging
     sciences. Alternatively, a person with 20 years of the
     foregoing experience and expertise, without a bachelor’s
     degree . . . .
Dkt. 41 at 3.

       Defendants argue the appropriate level “is simply a person

with    ordinary     skill   in    the   field     of   manufacturing      storage

containers, not necessarily child-resistant ones.” Dkt. 40 at 4.

       In determining the appropriate level of skill in the art, the

Federal    Circuit    directs     courts     to   consider    factors    such     as:

“(1) the educational level of the inventor; (2) type of problems

encountered in the art; (3) prior art solutions to those problems;

(4) rapidity with which innovations are made; (5) sophistication


                                         7
    Case 1:23-cv-11990-PBS   Document 61    Filed 12/03/24   Page 8 of 20



of the technology; and (6) educational level of active workers in

the field.” Best Med. Int’l, Inc. v. Elekta Inc., 46 F.4th 1346,

1353 (Fed. Cir. 2022) (quoting Daiichi Sankyo Co. v. Apotex, Inc.,

501 F.3d 1254, 1256 (Fed. Cir. 2007)). The Court may also look to

the patent’s purpose. See id. In making this determination, the

Court must define the “hypothetical person who is presumed to be

aware of all the pertinent prior art,” while disregarding “[t]he

actual inventor’s skill [as] irrelevant to the inquiry.” Standard

Oil Co. v. Am. Cyanamid Co., 774 F.2d 448, 454 (Fed. Cir. 1985).1

     This Court relies on “the patent’s teachings as a whole” to

determine the appropriate level of skill in the art. Best Med.

Int’l, Inc., 46 F.4th at 1354 (affirming the Patent Trial and

Appeal Board’s decision to make its determination based on patent’s

teachings as a whole when parties presented limited evidence

regarding the POSITA factors).

     The   ’763   patent   tries   to   solve   the   risk   of   accidental

pediatric exposure to marijuana as the prevalence and legalization


1
 After the hearing, Contempo filed an affidavit from Vark Markarian
Sr., Contempo’s founder and former CEO, for the Court to consider
in its POSITA determination (Dkt. 51-5). Defendants moved to strike
the affidavit, arguing that an inventor’s affidavit bears no weight
in determining a POSITA. See Dkt. 53. However, Markarian is not
the inventor of the ’763 patent, and motions to strike under
Federal Rule of Civil Procedure 12(f) “are narrow in scope,
disfavored in practice, and not calculated readily to invoke the
court’s discretion.” Boreri v. Fiat S.p.A., 763 F.2d 17, 23 (1st
Cir. 1985). Accordingly, the Court denies the motion to strike.
Nonetheless, the Court does not rely on the affidavit in reaching
its conclusion.
                                    8
      Case 1:23-cv-11990-PBS   Document 61     Filed 12/03/24    Page 9 of 20



of marijuana grows nationwide. The ’763 patent’s specification

contrasts its components with “prior art child resistance storage

containers.” ’763 patent at 4:6-19; see also id. at 2:67-3:3. The

specification also references the Poison Prevention Packaging Act

and 16 C.F.R. Part 1700. See Daiichi, 501 F.3d at 1257 (relying on

the   problem   the   patent   attempts      to   solve    and    the   patent’s

description to determine the level of ordinary skill in the art).

      In addition to the specification’s reference to the Poison

Prevention Packaging Act, Claim 2 requires the container to comply

with the Poison Prevention Packaging Act and 16 C.F.R. Part 1700.

’763 patent at 12:27-29. Though Claim 2 is not at issue in this

case, the Court must determine the level of ordinary skill in the

art for the inventions of the ’763 patent as a whole, and not just

inventions related to individual claims. When the ’763 patent is

viewed “as a whole,” it requires familiarity with child resistance

manufacturing and regulations. Accordingly, the level of ordinary

skill in the art of the ’763 patent is that of a person with

experience in child-resistant storage container manufacturing.

II.   Claim Construction

      A.    “box”


       Contempo’s Construction                Defendants’ Construction

In the ’763 patent, there is no              “a container, not a sleeve”
claim term to “a box,” instead
there is a claim term to an


                                     9
    Case 1:23-cv-11990-PBS   Document 61   Filed 12/03/24    Page 10 of 20




“inner box” and an “outer box.”
Therefore, it is the Plaintiff’s
position that “outer box” and
“inner box” are the proper claim
terms to be construed.

     The parties dispute the construction of the term “box.”

Contempo asserts that the Court should not construe “box” because

it appears in Claim 1 only alongside the modifiers “outer” and

“inner.” So, Contempo argues, “outer box” and “inner box” are the

proper terms to construe. Defendants contend that to construe

“outer box” and “inner box,” a POSITA would need to determine what

“box” means. Defendants propose that a “box” is “a container, not

a sleeve.” Dkt. 31 at 16-17.

     Neither party argues that “box” is a term of art. Where

construing a term “involves little more than the application of

the widely accepted meaning of [a] commonly understood word[],”

the Court may consult the dictionary. Phillips, 415 F.3d at 1314.

“Box” is commonly understood to mean “a rigid typically rectangular

container   with   or   without   a     cover.”   Box,      Merriam-Webster,

https://www.merriam-webster.com/dictionary/box. Construing “box”

to mean “container” accords with the ’763 patent’s specification,

which discloses “a child-resistant storage container” that “is

comprised of two rigid boxes.” ’763 patent at 2:53-55 (emphasis

added); see also id. at 4:53-60 (noting that “[t]he top wall” of

the inner box “is missing to provide access to the interior space


                                   10
     Case 1:23-cv-11990-PBS     Document 61    Filed 12/03/24   Page 11 of 20



of   the    interior     rectangular   box    to   store”   cannabis    products

(emphasis added)).

      Defendants ask the Court to further limit the term “box” as

“not a sleeve” under the doctrine of claim differentiation. Under

this doctrine, courts avoid construing “an independent claim. . .

as requiring a limitation added by a dependent claim.” Curtiss-

Wright Flow Control Corp. v. Velan, Inc., 438 F.3d 1374, 1380 (Fed.

Cir. 2006). Claim 8, which depends on Claim 1, requires “a sleeve

that fits over the inner box prior to insertion into the outer

box.” ’763 patent at 12:54-56. Defendants argue that as a result,

“box” cannot encompass “sleeve.” See Dkt. 31 at 17.

      The doctrine of claim differentiation is “not a hard and fast

rule of construction.” Kraft Foods, Inc. v. Int’l Trading Co., 203

F.3d 1362, 1368 (Fed. Cir. 2000) (quoting Comark Commc’ns, Inc. v.

Harris Corp., 156 F.3d 1182, 1186 (Fed. Cir. 1998)). Construing

“box”      simply   as   “container”   neither     adds   Claim   8’s   “sleeve”

limitation to Claim 1 nor renders Claim 8’s limitation superfluous.

See Comark, 156 F.3d at 1187. Defendants present no persuasive

reason to bake a limitation into the term “box.” Thus, the Court

construes the term “box” to mean “container.”




                                       11
      Case 1:23-cv-11990-PBS     Document 61       Filed 12/03/24    Page 12 of 20



       B.     “outer box” and “inner box”

     Term          Contempo’s Construction          Defendants’ Construction

“outer        “a structure having five         “an outer container, not an
box”          walls and an opening”            outer sleeve”



“inner        “a structure having four         “an inner container, not an
box”          vertical side walls and a        inner sleeve”
              bottom horizontal wall”


       The parties also dispute the construction of “outer box” and

“inner box.” Contempo urges the Court to construe “outer box” and

“inner box” based on what Claim 1 states each is “comprised of.”

See Dkt. 32 at 11-12. Defendants propose adding “outer” and “inner”

to    their    proposed      construction    for     box,    which     includes      the

limitation “not a . . . sleeve.” See Dkt. 31 at 17-18.

       Having already construed “box” as “container,” the Court

declines       to       adopt   Defendants’         construction.         Contempo’s

construction also goes up in smoke because it would impermissibly

render superfluous Claim 1’s description of the number of walls

the outer and inner boxes are “comprised of.” See Frans Nooren

Afdichtingssystemen B.V. v. Stopaq Amcorr Inc., 744 F.3d 715, 722

(Fed.       Cir.     2014)   (“[I]n   patent   claims        as     elsewhere,       the

construction of a clause as a whole requires construction of the

parts, with meaning to be given to each part so as to avoid

rendering any part superfluous.”).


                                        12
    Case 1:23-cv-11990-PBS   Document 61   Filed 12/03/24   Page 13 of 20



     Thus, the Court construes “outer box” as meaning “outer

container” and “inner box” as “inner container.”

     C.   “reaching”


    Contempo’s Construction                Defendants’ Construction

Plain and ordinary meaning           “to touch or grasp by
                                     extending a part of the body
                                     or an object”




     The parties agree that “reaching” has no industry-specific

meaning. See Dkt. 31 at 20 (Defendants noting that “the term

‘reaching’ is not a technical or scientific term”); Dkt. 32 at 13

(“The word ‘reaching’ as used in the claims and specification has

no special meaning . . . .”). As a result, the parties agree that

“reaching” should be given its plain and ordinary meaning; however,

the parties disagree on what that meaning is. Contempo argues that

“reaching” requires no further construction because it is readily

understandable by a POSITA. In contrast, Defendants propose a

specific definition: “reach” means “to touch or grasp by extending

a part of the body or an object.” Defendants’ construction is the

plain and ordinary meaning of “reach.” See Reach, Merriam-Webster,

https://www.merriam-webster.com/dictionary/reach.

     Defendants’ construction also accords with the ’763 patent’s

claims and specification. Claim 1 describes an inner box that

“cannot be retrieved by reaching into the outer box and pulling

                                   13
     Case 1:23-cv-11990-PBS    Document 61        Filed 12/03/24        Page 14 of 20



the inner box out of the outer box.” ’763 patent at 12:16-18

(emphasis added). This design furthers the ’763 patent’s stated

purpose of addressing the “need for . . . child-resistant packaging

in   order   to   protect     children    .   .     .”   Id.       at     1:61-62.      The

specification states,

      The objective of the instant invention is that the inner
      “box” can only be extracted from the outer “box” by
      inserting a thin object inserted into the slot of the
      outer “box” and pushing the inner “box” out of the outer
      “box”, however, the slot is not large enough to allow a
      child’s finger to be able to access the inner “box”.

Id. at 10:38-43. Adopting Defendants’ construction of “to touch or

grasp by extending a part of the body or an object” is consistent

with the plain meaning of “reach” and the object of the invention

-- that the only way to extract the inner box is through the slot

in the outer box. As a result, the Court adopts Defendants’

construction of “reaching.”

      D.     “retain”


      Contempo’s Construction                 Defendants’ Construction

“hold the inner box within the            “hold the inner box within the
outer box even when shook”                outer box”




      Both parties agree that “retain” is afforded its plain and

ordinary meaning. Further, the parties agree “retain” means “hold

the inner box within the outer box.” However, Contempo adds “even


                                     14
      Case 1:23-cv-11990-PBS    Document 61    Filed 12/03/24    Page 15 of 20



when shook”      to the definition.          In support of this addition,

Contempo argues the abstract and specification discuss retention

of the inner box in the context of a small child shaking the box.

See, e.g. ’763 patent at 2:61-62, 5:1-5, 5:20-23.

      Though “the specification is ‘the single best guide to the

meaning of a disputed term,’” Phillips, 415 F.3d at 1321 (quoting

Vitronics, 90 F.3d at 1582), courts must “avoid . . . reading

limitations from the specification into the claim,” id. at 1323.

The references to a child shaking the container are not found in

the words of the claim themselves. See Teleflex, Inc. v. Ficosa N.

Am.   Corp.,    299    F.3d    1313,   1324   (Fed.   Cir.      2002)   (“[C]laim

construction . . . begins and ends . . . with the actual words of

the claim.” (quoting Renishaw PLC v. Marposs Societa’ per Azioni,

158   F.3d     1243,   1248    (Fed.   Cir.    1998))).    In    addition,       the

specification’s references to shaking the container are not blunt

“expressions of manifest exclusion or restriction, representing a

clear disavowal” of defining retain without reference to shaking.

Id. at 1325. Accordingly, the Court declines to adopt Contempo’s

addition and defines “retain” as “hold the inner box within the

outer box.”

III. Indefiniteness

      Defendants argue the claim terms (1) “slots are not large

enough for a child’s finger” and (2) “the contact surfaces” are



                                        15
    Case 1:23-cv-11990-PBS   Document 61     Filed 12/03/24   Page 16 of 20



invalid   under   35   U.S.C.   §   112(b)   because    they    fail   to     use

reasonably precise language.

     35 U.S.C. § 112(b) states that a “specification shall conclude

with one or more claims particularly pointing out and distinctly

claiming the subject matter which the inventor or a joint inventor

regards as the invention.” The Federal Circuit has stated that

§ 112(b) contains two requirements. First, the claims “must set

forth what ‘the applicant regards as his invention.’” Allen Eng’g

Corp. v. Bartell Indus., Inc., 299 F.3d 1336, 1348 (Fed. Cir. 2002)

(quoting Solomon v. Kimberly–Clark Corp., 216 F.3d 1372, 1377 (Fed.

Cir. 2000)). Second, the claim must set forth the invention with

“sufficient particularity and distinctness, i.e., the claim must

be sufficiently ‘definite.’” Id. (quoting Solomon, 216 F.3d at

1377); see also Nautilus, Inc. v. Biosig Instruments, Inc., 572

U.S. 898, 909-10 (2014).

     “[A] patent is invalid for indefiniteness if its claims read

in light of the specification . . . and the prosecution history,

fail to inform, with reasonable certainty, those skilled in the

art about the scope of the invention.” Nautilus, 572 U.S. at 901.

The definiteness requirement “mandates clarity, while recognizing

that absolute precision is unattainable.” Id. at 910.

     A.    “slots are not large enough for a child’s finger”

     Defendants argue the term “slots are not large enough for a

child’s finger” is indefinite because it defines the size of the

                                     16
    Case 1:23-cv-11990-PBS    Document 61     Filed 12/03/24   Page 17 of 20



slot with a subjective standard, the size of a child’s finger.

According to Defendants, such a subjective standard fails to

provide a POSITA with an objective baseline from which she may

define the term. When a court is “faced with a ‘purely subjective’

claim phrase,” as Defendants suggest, the court “must look to the

written description for guidance.” Interval Licensing LLC v. AOL,

Inc., 766 F.3d 1364, 1371 (Fed. Cir. 2014) (quoting Datamize, LLC

v. Plumtree Software, Inc., 417 F.3d 1342, 1351 (Fed. Cir. 2005)).

Defendants   read   the     ’763   patent’s       background   statistic       that

“[e]very day in the United States there are 300 children ages 0-

19 treated in the emergency department . . . as a result of being

poisoned,” ’763 patent at 1:22-25, to define a child as a person

between the ages of zero and nineteen. Because children have

variable   finger   sizes    in    the    first    nineteen    years   of   life,

Defendants argue a POSITA could not provide a precise claim scope.

     Defendants rely heavily on Berkheimer v. HP Inc., 881 F.3d

1360 (Fed. Cir. 2018). In Berkheimer, the Federal Circuit held

that the phrase “minimal redundancy” was indefinite. See id. at

1364. The Federal Circuit looked to the specification for a point

of comparison that a POSITA could use to determine an objective

boundary of “minimal,” and found none. Id.; see also Interval

Licensing LLC, 766 F.3d at 1372-73 (finding “unobtrusive manner”

indefinite after failing to find clarity on the phrase from the

specification and prosecution history).

                                         17
      Case 1:23-cv-11990-PBS     Document 61      Filed 12/03/24      Page 18 of 20



      In Berkheimer, the lack of objective boundaries for “minimal”

was fatal to the patent’s claim; no such fatality exists here.

Claim 2 of the ’763 patent requires compliance with the Poison

Prevention Packaging Act and 16 C.F.R. Part 1700. ’763 patent at

12:27-29. Without getting too into the weeds, the specification

explains that the purpose of the Poison Prevention Packaging Act

was   to   protect   children     under        five    years    old      from     packages

containing toxic substances. ’763 patent at 1:34-37. A POSITA with

experience in manufacturing child-resistant storage containers

would be familiar with the age and testing requirements for child-

resistant    packaging    under       Federal     law.       Therefore,          unlike   in

Berkheimer, “the scope of the invention” is reasonably discernible

to a POSITA. Nautilus, 572 U.S. at 910. Accordingly, the Court

finds the claim phrase “slots are not large enough for a child’s

finger” sufficiently definite.

      B.    “the contact surfaces”

      Defendants     argue      the     term     “the       contact        surfaces”      is

indefinite    because    it     lacks    antecedent         basis     in    the    claims.

Contempo    responds     that    despite        the    absence      of      an    explicit

antecedent    basis,    the     claim    phrase       is    nonetheless          reasonably

ascertainable to a POSITA.

      “The requirement of antecedent basis is a rule of patent

drafting,    administered       during     patent          examination.”         Energizer

Holdings, Inc. v. Int’l Trade Comm’n, 435 F.3d 1366, 1370 (Fed.

                                         18
    Case 1:23-cv-11990-PBS    Document 61    Filed 12/03/24    Page 19 of 20



Cir. 2006). The Federal Circuit has affirmed a finding by the

Patent Trial and Appeal Board that a claim term was indefinite

when it referenced a previously defined term but lacked a clear

antecedent basis. See In re Packard, 751 F.3d 1307, 1310 (Fed.

Cir. 2014) (per curiam). Yet, the “failure to provide explicit

antecedent   basis   for     terms   does   not   always      render   a   claim

indefinite.” Energizer, 435 F.3d at 1370 (quoting Manual of Patent

Examining Procedure § 2173.05(e) (8th ed., rev. 2 May 2004)); see

also In re Downing, 754 F. App’x 988, 996 (Fed. Cir. 2018) (“[A]

claim term that lacks an antecedent basis may, but does not

necessarily, render a claim indefinite.”). Instead, a court must

decide whether a claim term lacking an antecedent “has a reasonably

ascertainable meaning . . . in context.” Energizer, 435 F.3d at

1370.

     Claim 1 in relevant part describes “a means of accessing the

inner box when the inner box is inserted into the outer box

provided that there is sufficient friction between the contact

surfaces of the inner box and the outer box to retain the inner

box within the outer box.” ’763 patent at 12:6-10 (emphasis added).

A POSITA with experience in manufacturing child resistant storage

containers would ascertain that “the contact surfaces” refer to

the surfaces of the inner and outer box in contact with one

another. As a result, the Court finds that the claim term “the

contact surfaces” is sufficiently definite.

                                     19
    Case 1:23-cv-11990-PBS   Document 61   Filed 12/03/24   Page 20 of 20



                                  ORDER

    For the reasons stated above, the Court DENIES Defendants’

Motion to Strike the Affidavit of Vark Markarian (Dkt. 53) and

construes the disputed terms as follows:

    1.    The term “box” means “container.”

    2.    The term “outer box” means “outer container.”

    3.    The term “inner box” means “inner container.”

    4.    The term “reaching” means “to touch or grasp by extending

a part of the body or an object.”

    5.    The term “retain” means “hold the inner box within the

outer box.”

    6.    The term “slots are not large enough for a child’s

finger” is not indefinite.

    7.    The term “the contact surfaces” is not indefinite.


SO ORDERED.
                                        /s/ PATTI B. SARIS__________
                                        Hon. Patti B. Saris
                                        United States District Judge




                                   20
